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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                §
    In re:                                                           Chapter 11
                                                                §
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                             Case No. 19-34054-sgj11
                                                                §
                                                                §
                                    Reorganized Debtor.
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                          §
                                                                §
                                    Plaintiff,                  §    Adversary Proceeding No.
                                                                §
    vs.                                                         §    21-03006
                                                                §
    HIGHLAND CAPITAL MANAGEMENT                                 §
    SERVICES, INC., JAMES DONDERO, NANCY                        §
    DONDERO, AND DUGABOY INVESTMENT                             §
    TRUST,                                                      §
                                                                §
                                    Defendants.                 §




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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          PLAINTIFF’S AMENDED NOTICE OF RULE 30(b)(6) DEPOSITION
            TO HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.

       PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure, made applicable herein pursuant to Rules 7030 and 9014 of the Federal Rules of

Bankruptcy Procedure, Highland Capital Management, L.P. (“Highland”), the plaintiff in the

above-referenced adversary proceeding in the above-captioned chapter 11 case, shall take the

deposition of Highland Capital Management Services, Inc. (“HCMS”) by the person(s) most

qualified to testify on HCMS’s behalf with respect to the topics described in Exhibit A attached

hereto on October 20, 2021, commencing at 9:30 a.m. Central Time or at such other day and

time as the Plaintiff may agree in writing. The deposition will be taken under oath before a notary

public or other person authorized by law to administer oaths and will be visually recorded by

video or otherwise.

       The deposition will be taken remotely via an online platform due to the coronavirus

pandemic such that no one will need to be in the same location as anyone else in order to

participate in the deposition and by use of Interactive Realtime. Parties who wish to participate

in the deposition should contact John A. Morris, Pachulski Stang Ziehl & Jones LLP, at

jmorris@pszjlaw.com no fewer than 72 hours before the start of the deposition for more

information regarding participating in this deposition remotely.
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Dated: October 8, 2021.           PACHULSKI STANG ZIEHL & JONES LLP

                                  /s/ John A. Morris
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                                             EXHIBIT A

                                            DEFINITIONS

                 1.         “Answer” means Defendant Defendant Highland Capital Management

Services, Inc.’s Answer to Amended Complaint, lodged in Adv. Proc. 21-03006 at Docket No. 73.

                 2.         “Communications” means the transmittal of information (in the form of

facts, ideas, inquiries, or otherwise) and includes all oral and written communications of any

nature, type or kind including, but not limited to, any ESI (and any attachments thereto),

Documents, telephone conversations, text messages, discussions, meetings, facsimiles, e-mails,

pagers, memoranda, and any other medium through which any information is conveyed or

transmitted.

                 3.         “Concerning” means and includes relating to, constituting, defining,

evidencing, mentioning, containing, describing, discussing, embodying, reflecting, edifying,

analyzing, stating, referring to, dealing with, or in any way pertaining to the subject matter.

                 4.         “Discovery Requests” means Plaintiff’s Requests for Admission,

Interrogatories, and Requests for Production Directed to Highland Capital Management

Services, Inc. served on Your counsel by e-mail on September 7, 2021.

                 5.         “Document” means and includes all written, recorded, transcribed or

graphic matter of every nature, type and kind, however and by whoever produced, reproduced,

disseminated or made. This includes, but is not limited to, Communications, ESI, “writings” as

defined by Rule 1001 of the Federal Rules of Evidence, copies or drafts, and any tangible or

intangible thing or item that contains any information. Any Document that contains any comment,

notation, addition, insertion or marking of any type or kind which is not part of another Document,

is to be considered a separate Document.




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                 6.         “Demand Notes” shall have the meaning ascribed to that term in paragraph

24 of the the Amended Complaint for (I) Breach of Contract, (II) Turnover of Property, (III)

Fraudulent Transfer, and (IV) Breach of Fiduciary Duty, filed by Highland at Adv. Pro. 21-03006,

Docket No. 68.

                 7.         “You” or “Your” means Highland Capital Management Services, Inc., and

anyone authorized to act on its behalf.

                                              Rule 30(b)6) Topics

Topic No. 1:

         Your Answer.

Topic No. 2:

         Each Affirmative Defense asserted in Your Answer, including but not limited to all facts

and circumstances, Communications, and Documents Concerning each Affirmative Defense. See

Answer ¶¶ 94-102.

Topic No. 3:

        The Demand Notes, including but not limited to (a) the negotiation of the Demand Notes,

(b) the terms of the Demand Notes, (c) Communications Concerning the Demand Notes, (d) any

payments of principal or interest made by You or on Your behalf with respect to the Demand

Notes; (e) the use of the proceeds of the Demand Notes, (f) Your communications with Your

outside auditors Concerning the Demand Notes and the obligations thereunder, and (g) all

agreements Concerning the Demand Notes.

Topic No. 4:

         Your responses to the Discovery Requests.




                                                    2
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